                        UNITED STATES BANKRUPTCY COURT
                         EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION - DETROIT

IN THE MATTER OF:
                                                                  CHAPTER 13
JANET ELAINE JOHNSON
                                                                  Case No. 13-60389-PJS
                                  Debtor                          Judge PHILLIP J. SHEFFERLY

               TRUSTEE’S NOTICE OF FINAL CURE PAYMENT AND
            TRUSTEE’S NOTICE OF COMPLETION OF PLAN PAYMENTS;
                  NOTICE TO CREDITORS OF OBLIGATION TO
                 FILE A RESPONSE AND RIGHT TO OBJECT; AND
      NOTICE TO DEBTOR OF OBLIGATION TO FILE DEBTOR’S CERTIFICATION

                         Please read this Report carefully. It advises you of certain
                             rights and deadlines imposed pursuant to the law.
                               Your rights may be adversely affected.


David Wm. Ruskin, Standing Chapter 13 Trustee, pursuant to F. R.Bankr.P. 3002.1(f) and E.D. Mich.
LBR 2015-3(a), reports to the Court that the above-named Debtor has completed all payments under the
confirmed Chapter 13 plan.

This notice is provided pursuant to F.R.Bankr.P. 3002.1(f), to claimants whose claims are secured by a
security interest in the debtor's principal residence and whose claims are provided for under 11 U.S. C.
1322(b)(5).

            IF YOUR CLAIM WAS PAID BY THE TRUSTEE, THE DEBTOR HAS
            PAID IN FULL THE AMOUNT REQUIRED TO CURE ANY DEFAULT
            ON YOUR CLAIM.

            IF YOUR CLAIM WAS PAID DIRECTLY BY THE DEBTOR OR THE
            AUTOMATIC STAY WAS LIFTED DURING THE TERM OF THE
            DEBTOR'S CHAPTER 13 PLAN, THE TRUSTEE DOES NOT HAVE ANY
            INFORMATION REGARDING WHETHER THIS OBLIGATION IS
            CURRENT.


            PURSUANT TO F.R.BANKR.P. 3002.1(g), YOU ARE REQUIRED TO
            FILE AND SERVE A RESPONSE ON THE DEBTOR, DEBTOR'S
            COUNSEL AND THE TRUSTEE, NO LATER THAN 21 DAYS AFTER
            SERVICE OF THIS NOTICE. F.R.BANKR.P. 3002.1 (g) SETS FORTH
            THE SPECIFICS GOVERNING THE REQUIRED RESPONSE.




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                Trustee's Notice of Final Cure Payment and Notice of Completion of Plan Payments, etc.
                                              Case Number: 13-60389-PJS
In addition to the requirements of F.R.Bankr.P. 3002.1(g), pursuant to E.D. Mich. LBR 2015-3(a)(2), if
the Court determines that Debtor's is eligible for a Discharge, the Order of Discharge will include findings
that:

    1. All allowed claims have been paid in accordance with the plan; and

    2. With respect to any secured claim that continues beyond the term of the plan, any prepetition or
       post-petition defaults have been cured and the claim is in all respects current, with no escrow
       balance, late charges, costs or attorney fees owing.

Pursuant to E.D. Mich. LBR 2015-3(a)(3), if the Court determines that Debtor's is eligible for a
Discharge, the Order of Discharge will direct that:

    1. Any creditor who held a secured claim that was fully paid shall execute and deliver to the Debtor
       a release, termination statement, discharge of mortgage or other appropriate certificate suitable for
       recording; and

    2. Any creditor who holds a secured claim that continues beyond the term of the plan shall take no
       action inconsistent with the findings set forth in the Order of Discharge.

                                  RIGHTS AND DUTIES OF DEBTOR

Duty of Debtor regarding secured debt obligations : Every Debtor, regardless of whether the Debtor
is or claims to be entitled to a discharge, must:

    1. Immediately begin making the required payments on secured debt obligations to avoid defaulting
       on those secured debt obligations.

    2. Continue to make required payments on secured debt obligations until those obligations are paid in
       full. If the Court determines that the Debtor is eligible for a Discharge, the Chapter 13 Discharge
       will not discharge the Debtor from any obligation on any continuing secured debt payments that
       come due after the date of the Debtor's last payment under the Plan.

See E.D. Mich. LBR 2015-3(a)(6)&(7).

If the Debtor claims to be eligible for a discharge pursuant to 11 USC Section 1328 :

    1. Within 28 days of the date of this Chapter 13 Trustee ’s Report, the Debtor must file with the
       Court the Certification Regarding Domestic Support Obligations. The form and instructions on
       how to complete this form may be found on the Court's web site, www.mieb.uscourts.gov.

    2. If this is a Joint Case, each Debtor must separately complete and file the Certification Regarding
       Domestic Support Obligations. The form and instructions on how to complete this form may be
       found on the Court's web site, www.mieb.uscourts.gov.


    3. If the Debtor fails to complete and file the Certification Regarding Domestic Support Obligations
       within 28 days of the date of this Chapter 13 Trustee ’s Report, the Debtor’s case may be closed
       by the Court without the entry of a discharge. The form and instructions on how to complete this
       form may be found on the Court's web site, www.mieb.uscourts.gov.

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                               RIGHTS AND DUTIES OF CREDITORS

In addition to the requirements of F.R.Bankr.P. 3002.1(g), pursuant to E.D. Mich. LBR 2015-3(a)(4), if
any party in interest asserts that:

    1. The Debtor has failed to make all payments to the Chapter 13 Trustee as required by the
       confirmed Chapter 13 plan; or

    2. The Debtor is not current in any payments the Debtor was authorized to make directly to a
       creditor; or

    3. One or more allowed claims have not been paid in accordance with the plan; or

    4. With respect to any secured claim that continues beyond the term of the plan, there remains
       prepetition or post-petition defaults that have not been cured or that the claim is otherwise not
       current in all respects including, but not limited to, any unpaid escrow balance, late charge, cost or
       attorney fee; or

    5. A creditor has a lawful reason to refuse to execute or deliver a release, termination statement,
       discharge of mortgage or other appropriate certificate suitable for recording; or

    6. There exists reasonable cause to believe that:

        (a) 11 U.S.C. Section 522(q)(1) may be applicable to the Debtor; or

        (b) There is pending any proceeding in which the Debtor may be found guilty of a felony of the
            kind specified in 11 U.S.C. Section 522(q)(1)(A) or found liable for a debt of the kind
            described in 11 U.S.C. Section 522(q)(1)(B)

the party may file an objection to this Report. Any objection must be filed not later than 21 days after
service of this Trustee’s Report. If a timely objection is filed, the Court will delay entry of the order of
discharge until the Court resolves the objection and a hearing will be scheduled with notice to the objecting
party.

In addition to the requirements of F.R.Bankr.P. 3002.1(g), if no objection to this Trustee’s Report is timely
filed, pursuant to E.D. Mich. LBR 2015-3(a)(5), it shall be conclusively determined that:

    1. Debtor has made all payments to the Chapter 13 Trustee as required by the confirmed Chapter 13
       plan; and

    2. Debtor is current in all payments Debtor was authorized to make directly to a creditor; and

    3. All allowed claims have been paid in accordance with the plan; and

    4. With respect to any secured claim that continues beyond the term of the plan, all prepetition and
       post-petition defaults have been cured and the claim is current in all respects including, but not
       limited to, all escrow balances, late charges, costs or attorney fees; and



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    5. A creditor has no lawful reason to refuse to execute or deliver a release, termination statement,
       discharge of mortgage or other appropriate certificate suitable for recording; and;

    6. There exists no reasonable cause to believe that:

       (a) 11 U.S.C. Section 522(q)(1) may be applicable to the Debtor; or

       (b) There is pending any proceeding in which the debtor may be found guilty of a felony of the kind
           specified in 11 U.S.C. Section 522(q)(1)(A) or found liable for a debt of the kind described in 11
           U.S.C. Section 522(q)(1)(B)

    7. The Court may enter an order of discharge containing the terms set forth above without further
       notice or hearing.

                                OFFICE OF THE CHAPTER 13 STANDING TRUSTEE-DETROIT
                                David Wm. Ruskin, Chapter 13 Standing Trustee



Dated: March 27, 2018                          /s/ Lisa K. Mullen
                                                DAVID WM. RUSKIN (P26803)
                                                Attorney and Chapter 13 Standing Trustee
                                                LISA K. MULLEN (P55478)
                                                THOMAS D. DECARLO (P65330)
                                                26555 Evergreen Road Ste 1100
                                                Southfield, MI 48076-4251
                                                Telephone (248) 352-7755




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IN THE MATTER OF:
                                                             CHAPTER 13
JANET ELAINE JOHNSON
                                                             Case No. 13-60389-PJS
                                      Debtor                 Judge PHILLIP J. SHEFFERLY




           PROOF OF SERVICE OF TRUSTEE’S NOTICE OF FINAL CURE PAYMENT AND
                 TRUSTEE’S NOTICE OF COMPLETION OF PLAN PAYMENTS;
                       NOTICE TO CREDITORS OF OBLIGATION TO
                      FILE A RESPONSE AND RIGHT TO OBJECT; AND
           NOTICE TO DEBTOR OF OBLIGATION TO FILE DEBTOR’S CERTIFICATION


      I hereby certify that on March 27, 2018, I electronically filed the TRUSTEE’S NOTICE OF
FINAL CURE PAYMENT AND TRUSTEE’S NOTICE OF COMPLETION OF PLAN PAYMENTS;
NOTICE TO CREDITORS OF OBLIGATION TO FILE A RESPONSE AND RIGHT TO OBJECT;
AND NOTICE TO DEBTOR OF OBLIGATION TO FILE DEBTOR’S CERTIFICATION with the
Clerk of the Court using the ECF system which will send notification of such filing to the following:

        The following parties were served electronically:
Frego & Associates - The Bankruptcy Law Office Plc
23843 Joy Road
Dearborn Heights, MI 48127

        The parties on the attached list were served via First Class Mail at the addresses below by depositing
same in a United States Postal Box with the lawful amount of postage affixed thereto:




                                          /s/ Deanna Thiel
                                          Deanna Thiel
                                          For the Office of the Chapter 13 Standing Trustee-Detroit
                                          26555 Evergreen Road Ste 1100
                                          Southfield, MI 48076-4251
                                          (248) 352-7755




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9916 BRAMELL
DETROIT, MI 48239




CARRINGTON MORTGAGE SERVICES                  DIRECTV LLC
% TROTT LAW PC                                % AMERICAN INFOSOURCE LP
31440 NORTHWESTERN HWY #200                   2230 E IMPERIAL HWY MS N387
FARMINGTON HILLS, MI 48334-5422               EL SEGUNDO, CA 90245
CARRINGTON MORTGAGE SERVICES LLC              DTE ENERGY
P O BOX 3730                                  ONE ENERGY PLAZA 688 WCB
ANAHEIM, CA 92806                             DETROIT, MI 48226-1221

CARRINGTON MORTGAGE SERVICES LLC              DTE ENERGY (DETROIT EDISON/MICHCON)
1600 SOUTH DOUGLASS ROAD                      ONE ENERGY PLAZA 735 WCB
ANAHEIM, CA 92806                             DETROIT, MI 48226

CAVALRY SPV I LLC                             PORTFOLIO AMERICA ASSET
P O BOX 27288                                 MANAGEMENT
TEMPE, AZ 85282                               % JEFFERSON CAPITAL SYSTEMS LLC
                                              P O BOX 772813
CAVALRY SPV I, LLC                            CHICAGO, IL 60677-2813
500 SUMMIT LAKE DRIVE STE 400                 PORTFOLIO AMERICA ASSET
VALHALLA, NY 10595                            MANAGEMENT LLC
                                              % JEFFERSON CAPITAL SYSTEMS LLC
DETROIT WATER & SEWER                         P O BOX 7999
P O BOX 32711                                 ST CLOUD, MN 56302-9617
DETROIT, MI 48232                             WELLS FARGO
                                              % TROTT LAW PC
DETROIT WATER & SEWERAGE                      31440 NORTHWESTERN HWY
DEPARTMENT                                    SUITE 200
% KILPATRICK AND ASSOCIATES PC                FARMINGTON HILLS, MI 48334-2525
615 GRISWOLD #1708                            WELLS FARGO BANK
DETROIT, MI 48226                             3476 STATEVIEW BLVD MAC D3347-014
DETROIT WATER & SEWERAGE                      FORT MILL, SC 29715
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